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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                 §
 In re:                                          §     Chapter 11 (Subchapter V)
 FREE SPEECH SYSTEMS LLC,                        §
                                                 §     Case No. 22-60043
                                                 §
                                Debtor.          §

                   DEBTOR’S RESPONSE TO MOTION TO CONVERT
                               [Relates to ECF # 921]


       Debtor respectfully shows:

       1.      Any allegations, including in paragraphs 3 and 30, that Debtor is operating at a loss,

are denied.   When the CRO was appointed in this case there was less than $200,000 in the bank.

The last monthly operating report shows more than $2.5 million, a figure which does not include

another approximately $2 million in cash reserve temporarily held back by the credit card

processor. These figures are largely net of professional fees, other than the most recent billing

cycles of the professionals.

       2.      Debtor denies the allegation in paragraph 3 that a realistic plan was never filed.

But Debtor agrees that at this stage plan confirmation is not viable.

       3.      Debtor lacks knowledge as to whether the CT families have seen the trustee’s

report. For that reason, that portion of the allegations in paragraph 23 is denied.
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 Houston, Texas                   O’CONNORWECHSLER PLLC
 Dated: June 14 , 2024
                                   /s/ Annie E. Catmull
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                                  Counsel for Free Speech Systems, LLC


                                  Certificate of Service

        I certify that on June 14, 2024, I caused the attached to be served via ECF
notification system to all registered users who have made an appearance.


 /s/ Annie E. Catmull
 Annie E. Catmull




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